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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION

  FUSION ELITE ALL STARS, et al.,

                    Plaintiffs,                No. 2:20-cv-02600-SHL-tmp

  v.
                                               JURY TRIAL DEMANDED
  VARSITY BRANDS, LLC, et al.,

                    Defendants.


  JONES, et al.,

                    Plaintiffs,                No. 2:20-cv-02892-SHL-tmp

  v.
                                               JURY TRIAL DEMANDED
  BAIN CAPITAL PRIVATE EQUITY, et
  al.,

                    Defendants.


  AMERICAN SPIRIT AND CHEER
  ESSENTIALS, INC., et al.,
                                               No. 2:20-cv-2782-SHL-tmp
                    Plaintiffs,
                                               JURY TRIAL DEMANDED
  v.

  VARSITY BRANDS, LLC, et al,

                    Defendants.


            ORDER GRANTING PLAINTIFFS’ JOINT MOTION TO
  FACILITATE COORDINATION OF DEPOSITIONS IN THE RELATED ACTIONS

       Before this Court is a motion jointly brought by Plaintiffs

 Fusion Elite All Stars, Spirit Factor LLC d/b/a Fuel Athletics,
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 Stars and Stripes Gymnastics Academy Inc. d/b/a Stars and Stripes

 Kids Activity Center, Kathryn Anne Radek, Lauren Hayes, and Janine

 Cherasaro (collectively, “Fusion Elite Plaintiffs”); Plaintiffs

 Jessica    Jones,     Michelle     Velotta,      and   Christina    Lorenzen

 (collectively, “Jones Plaintiffs”); and Plaintiffs American Spirit

 and Cheer Essentials, Inc., Rockstar Championships, LLC, Jeff &

 Craig Cheer, LLC, d/b/a Jeff and Craig Camps, and Ashley Haygood

 (collectively,      American     Spirit    Plaintiffs”)   seeking    certain

 provisions to enable them to conduct depositions noticed pursuant

 to Rule 30(b)(1) and Rule 30(b)(6) in the above-captioned matters

 (the “Related Actions”). Upon consideration of said motion, and

 the opposition thereto, said Motion is GRANTED. It is further

 ORDERED that:

       1.    Where the deposition of a single witness or a corporation

 is   noticed   in   two   or   more   of   the   above-captioned    matters,

 additional time will be needed to fairly examine that deponent,

 given the scope of the Fusion Elite, Jones, and American Spirit

 matters.

       2.    At the same time, it is necessary to enable coordination

 in the taking and use of depositions in the Related Actions, to

 avoid duplication.

       3.    Plaintiffs in the Related Actions will coordinate their

 examinations of deponents represented by counsel for Defendants
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 (“Defendants’ Witnesses”) whose depositions are sought in more

 than one of the Related Actions.

       4.        Testimony from depositions taken in any of the Related

 Actions may be used in any or all of the other Related Actions as

 if taken in that action, including at trial. Parties to the Related

 Actions can obtain copies of deposition transcripts and exhibits

 introduced at any deposition taken in any of the Related Actions,

 regardless       of   whether    they    noticed    or       participated    in   that

 deposition.

       5.        Plaintiffs in any one of the Related Actions may attend

 and question witnesses at depositions noticed in any of the other

 Related Actions.

       6.        Plaintiffs in any of the Related Actions may serve a

 notice     of    deposition     with    respect    to    any    deposition    noticed

 pursuant to Rule 30(b)(1) by Plaintiffs in one of the other Related

 Actions. For each additional notice that is served, Plaintiffs

 shall      receive    two   additional      hours       to     examine   Defendants’

 Witnesses, other than Defendant U.S. All Star Federation, Inc.’s

 (“USASF’s”) witnesses, in addition to the time provided in the

 Discovery Order, (ECF No. 89), entered in Fusion Elite (which

 provides for 7 hours), for a total of 11 hours should Plaintiffs

 in all three Related Actions notice the deposition. For Defendant

 USASF’s witnesses Plaintiffs shall receive one additional hour for

 each additional notice served, for a total of nine hours should
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 Plaintiffs in all three Related Actions notice the deposition. The

 additional time set forth herein will apply regardless of which

 Plaintiffs served the first notice.

       7.     Plaintiffs in any of the Related Actions may serve a

 30(b)(6) notice of deposition with respect to a deposition noticed

 under Rule 30(b)(6) by Plaintiffs in any one of the other Related

 Actions.     In such event, Plaintiffs shall receive an additional

 three hours for a Defendant’s 30(b)(6) deposition, other than

 Defendant USASF’s 30(b)(6) deposition, in addition to the time set

 forth in Discovery Order, Doc. No. 89 (which provides for 15 hours

 for 30(b)(6) depositions of Varsity 1 and seven hours for 30(b)(6)

 depositions of USASF) for a total of 21 hours for Varsity’s

 30(b)(6) deposition should Plaintiffs in all three Related Actions

 notice those depositions. Plaintiffs shall receive an additional

 hour for each additional notice of Defendant USASF’s 30(b)(6)

 deposition,    for   a   total   of   nine   hours   for   USASF’s   30(b)(6)

 deposition, should Plaintiffs in all three Related Actions notice

 that deposition. The additional time set forth herein will apply

 regardless of which Plaintiffs served the first notice.

       8.     Plaintiffs in the Related Actions may allocate the total

 deposition time amongst themselves as they choose.




 1“Varsity” refers to Varsity Brands, LLC, Varsity Spirit, LLC,
 and Varsity Spirit Fashion & Supplies, LLC
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       IT IS SO ORDERED.

                                  s/ Tu M. Pham
                                  TU M. PHAM
                                  Chief United States Magistrate Judge

                                  November 15, 2021                  ______
                                  Date
